Case 1:13-cv-01432-RA-KNF Document 139-21 Filed 12/29/15 Page 1 of 4




                     Exhibit U

                      REDACTED
         Case 1:13-cv-01432-RA-KNF Document 139-21 Filed 12/29/15 Page 2 of 4




                            REVIEW PROTOCOL UPDATES AND CHANGES
                                    for the week ending Wednesday, August 8

      First Level Reviewers

      Broadening Responsiveness

             If a                         looks like it could be one of ours, no need to look it up, just
             mark it Responsive.

             When you see           deal, mark it Responsive regardless of whether it is one of our
                 or otherwise. These documents are Responsive regardless of their date (i.e., 2002
             documents are Responsive).

             Documents that discuss       generally, even if they do not relate to a specific      are
             Responsive.

             Public newsletters discussing                                     (from        , consultants,
             news sources) are Responsive.



                            documents concerning               should be marked Responsive if they
              went to      decision-makers or if they went to the members of the                 with
              oversight responsibilities for    . The relevant                       are:




                           documents that are Non-Responsive no longer need to be tagged
                    .

       Specific to an Individual or Entity




       4898688-1



PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                              QE00215861
         Case 1:13-cv-01432-RA-KNF Document 139-21 Filed 12/29/15 Page 3 of 4




       Privilege

              Use discretion marking documents Privileged. But, if a document has "a hint" of
              privilege, mark it Privileged. It is better to over-privilege at this stage than under-
              privilege. All documents marked Privileged will be re-reviewed later.

              People with /LEGAL/ in their email address should be treated as attorneys.

       Technical

              Documents from          and later are no longer going to be reviewed.

              Documents whose native files end with .mdb or .snp cannot be viewed and should be
              marked Tech Issue.

              Review batches may contain documents from more than one custodian.


       Second Level Reviewers


       Responsive

              it is theoretically possible for a         to relate back to a much earlier filed
              (as far back as the               ). Mark early-filed             as Responsive if it
              appears they could track to one of our deals.

              Hard copy           are considered Responsive unless they are Privileged. No need to
              issue code or change the initial Non-Responsive tag to Responsive.

              Documents that were being marked as                      (internal and external) should now
              be marked Responsive. No need to tag                     any more.

              Documents discussing                                  (i.e., their                  may be
              Responsive.



              Publicly filed court documents should be marked Responsive



                                                      Page 2
       4898688-1



PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               QE00215862
         Case 1:13-cv-01432-RA-KNF Document 139-21 Filed 12/29/15 Page 4 of 4




      Non-Responsive

                                should be marked Non-Responsive and tagged               on Our
                           .

      Privilege

             Where there is a question about whether draft minutes from
                        meetings (or other documents) are privileged, mark them Privileged.

             Handwritten notes should only be marked Privileged if there is some reason to believe
             that the notes were made by attorney or in discussions with an attorney or qualify as work
             product.




                                                   Page 3
       4898688-1



PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                          QE00215863
